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AO 2488 excugegne3: 20s amen ina Criminal Case
» FV. Einited States District Court
- Middle District of North Carolina
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CAS®t

 
 
 
 

Vv.

 

 

Case Number: 4:13CR337-1 and 1%,
IDER VAZQUEZ MATOS
USM Number: 03931-104
Robert A. Broadie
Defendant's Attorney
THE DEFENDANT:
We pleaded guilty to count(s) ts Object 1 of the Superseding indictment filed in 1:13cr337-1 and Count 1 of the Information
filed in 1714cr4-1
Ci pleaded nolo contendere to count(s) which was accepted by the court.
C was found guilty on count(s) after a.plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section ‘Nature of Offense Offense Ended Count
217846 Conspiracy to Distribute Cocaine Hydrochloride December 31, 2011 48 Object
in case number ‘1 :13¢r337-1
31:5332(a)(1) and (b}(1) Bulk Cash ‘Smuggling and Aiding :and Abetting December 31, 2010 4

and 18:2 in case number ’t:14cr4-1

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

CL] ‘the defendant has been found not guilty on count(s)

Count(s) 1-2 of the Indictment filed August 27,2013 and Counts 1s Object:2, Count 2s and 3s ofthe Superseding indictment filed
September ‘30, 2013 are dismissed on the motion of the United States.

IT 1S ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. lf ordered to
pay restitution, the defendant shail notify the court and United States attorney of any material change in the defendant's economic

circumstances.

June 12,2014

g MOE 4 fL_ 4.

Signature of Judge

 

 

Thomas D. Schroeder, United States District Judge

Name & Title of Judge pw > 7 Qo ly
UV : ‘

 

Date

Case 1:13-cr-00337-TDS Document 63 Filed 06/30/14 Page 1 of 6
AO 245B (NCMD Rev. 09/11) Sheet 2 - Imprisonment Page 2 of 6

 

DEFENDANT: IDER VAZQUEZ MATOS
CASE NUMBER: 41:13CR337-1 and 1:14CR4-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
130 months.

[130 months as to Count 1s Object 1 in case number 1:13cr337-1 and 60 months as to Count 1 in case number 1:14cr4-1, to run
concurrently with each other.]

CI The court makes the following recommendations to the Bureau of Prisons:

XI The defendant is remanded to the custody of the United States Marshal.

0 The defendant shall surrender to the United States Marshal for this district.
OO at am/pm on

LI as notified by the United States Marshal.

C] The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
CO before 2 pm on
C1 as notified by the United States Marshal.

O as notified by the Probation or Pretrial Services Office.

RETURN
| have executed this judgment as follows:
Defendant delivered on to at

, with a certified copy of this judgment.

 

UNITED STATES MARSHAL

BY

 

DEPUTY UNITED STATES MARSHAL

Case 1:13-cr-00337-TDS Document 63 Filed 06/30/14 Page 2 of 6
AQ 2458 (NCMD Rev, 09/11) Sheet 3 - Supervised Release Page 3 of 6

 

DEFENDANT: IDER VAZQUEZ MATOS
CASE NUMBER: 4:130R337-1 and 1:14CR4-1

SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.

[Five (5) years as to Count 1s Object 1 in case number 1:13¢r337-1 and three (3) years as to Count 1 in case number 1:14cr4-1, to run
concurrently with each other.)

The defendant must report'to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

‘The defendant shal! not untawfully possess a controlied substance. The defendant shall refrain from any unlawful use of a controlted
substance. The defendant shall submit io.one drug test-within 15 days of release from imprisonment and at least two periodic drug testis
thereafter, as determined by the court.

LJ the above drug testing condition is suspended based on the couri’s determination that the defendant poses a low risk of future substance
abuse. (Check, if applicable.)

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
The defendant shall cooperate inthe collection of DNA as directed by the probation officer. (Check, if applicable.)

i The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U:S.C'§ 16901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or'she resides, works, isa
student, or was convicted of a qualifying offense. (Check, if applicable.)

Cithe defendant shall participate in-an approved program for domestic violence. (Check, if applicable.)

if this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions on
the attached page.

STANDARD CONDITIONS OF SUPERVISION

the defendant shall not leave the judicial district without the permission of the court or probation officer,

the defendant shall report to the probation officer ina manner and frequency directed by the court or probation ‘officer;

the defendant shall answer truthfully.ail inquiries by the probation officer-and follow the instructions of the probation officer;

the defendant shall support his or her dependents and meet other family responsibilities;

the defendant:shall work regularly at a lawful occupation unless excused by the probation officer for schocling, training, or other acceptable

reasons;

the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribuie, or administer any controlled

substance or any paraphernalia related to any controlied substances, except as prescribed by a physician,

the defendant shal! not frequent places where controlied substances are illegally sold, used, distributed, or administered;

the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted of a

felony unless granted permission to do so by the probation officer,

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer,

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by.a law enforcement officer;

12) the defendant shall not enter into any agreement to act.as an informer or a special agent of a jaw enforcement agency without the
permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks ‘that may be occasioned by the defendant's criminat

record or: personal history or characteristics, and shall permit the probation officer to make such notifications and to confirm the defendant's

compliance with such notification requirement.

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Case 1:13-cr-00337-TDS Document 63 Filed 06/30/14 Page 3 of 6
AO 245B (NCMD Rev. 09/11) Sheet 3c - Supervised Release, Special Conditions Page 4 of 6

 

DEFENDANT: IDER VAZQUEZ MATOS
CASE NUMBER: 1:13CR337-1 and 1:14CR4-1

SPECIAL CONDITIONS OF SUPERVISION

The defendant shall provide any requested financial information to the probation officer.

The defendant shall submit to substance abuse testing, at any time, as directed by the probation officer. The defendant shall cooperatively
participate in a substance abuse treatment program, which may include drug testing and inpatient and residential treatment, and pay for
treatment services, as directed by the probation officer. During the course of treatment, the defendant shall abstain from the use of alcoholic
beverages.

The defendant shall submit his person, residence, office, vehicle, or any property under his control to a warrantless search. Such a search shall
be conducted by a United States Probation Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of
contraband or evidence of a violation of a condition of release. Failure to submit to such a search may be grounds for revocation; the defendant
shall warn any residents that the premises may be subject to searches.

Upon completion of the custody sentence, the defendant shall surrender to a duly authorized ICE official, in accordance with established
procedures provided by the Immigration and Naturalization Act, 8 U.S.C.§ 1101. If ordered deported, the defendant shall remain outside the
United States during the term of supervision and shall not reenter the United States without the permission of the United States Attorney
General or the Secretary of the Department of Homeland Security.

Case 1:13-cr-00337-TDS Document 63 Filed 06/30/14 Page 4 of 6
AO 245B (NCMD Rev. 09/11) Sheet 5 - Criminal Monetary Penalties Page 5 of 6

DEFENDANT: IDER VAZQUEZ MATOS
CASE NUMBER: 1:13CR337-1 and 1:14CR4-1

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 200.00 $ $
(1 +The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.
(1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

lf the defendant makes a partial payment, each payee shail receive an approximately proportioned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before
the United States is paid.

Name of Payee Total Loss* Restitution Ordered Priority or Percentage
TOTALS $ a $

C]_ Restitution amount ordered pursuant to plea agreement $

C1 ~The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

C1 _ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
(+ the interest requirement is waived for the oO fine qq restitution.

(the interest requirement forthe [] fine [restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
or after September 13, 1994, but before April 23, 1996.

Case 1:13-cr-00337-TDS Document 63 Filed 06/30/14 Page 5 of 6
AO 245B (NCMD Rev. 09/11) Sheet 6 - Schedule of Payments Page 6 of 6

 

DEFENDANT: IDER VAZQUEZ MATOS
CASE NUMBER: 1:13CR337-1 and 1:14CR4-1

SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

Aw Lump sum payment of $ 200.00 due immediately, balance due
CJ not later than , or

Xi in accordance with O C, C D, O E, or F below; or

B O Payment to begin immediately (may be combined with O C, Cl D, or O F below); or

Cc O Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g.,
months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

op U Payment in equal (e.g. weekly, monthly, quarterly) installments of $ over a period of (e.g.,
months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

EU Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from

imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

FW Special instructions regarding the payment of criminal monetary penalties:

To the extent the defendant cannot immediately comply, the court will recommend he participate in the Inmate Financial
Responsibility Program.

Uniess the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial
Responsibility Program, are to be made to the Clerk of Court, United States District Court for the Middle District of North Carolina, 324 West
Market Street, Greensboro, NC 27401-2544, unless otherwise directed by the court, the probation officer, or the United States Attorney.
Nothing herein shall prohibit the United States Attorney from pursuing collection of outstanding criminal monetary penalties.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

C] Joint and Several

Defendant and Co-Defendant Names, Case Numbers (including defendant number), Total Amount, Joint and Several Amount, and
corresponding payee, if appropriate.

O The defendant shall pay the cost of prosecution.
CI The defendant shall pay the following court cost(s):

XI The defendant shall forfeit the defendant’s interest in the following property to the United States: upon completion of the appellate
process for all named defendants, the controlled substances seized shal! be destroyed.

Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine principal, (5) fine interest,
(6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.

ase 1:13-cr-00337-TDS Document 63 Filed 06/30/14 Page 6 of 6
